CaSe 4218-CV-11451-LVP-EAS ECF NO. 10 filed 05/17/18 Page|D.293 Page 1 Of 1

AO 458 (Rev. 06/09) Appearance of Counsel

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Michigan

 

 

Speech First. |nc. _ )
Plainti# )
v. ) Case No. 2:18-cv-11451-LVP-EAS
Mark Sch|isse|. et al. _ )
Defena'ant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

A|l defendants 1

Date; M m z/vn/O_ DM/~

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